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                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION



CALVIN HEGWOOD,

               Plaintiff,                                   Case No. 1:18-CV-195

v.                                                          Hon. Gordon J. Quist

COMMISSIONER OF SOCIAL
SECURITY,

               Defendant.
                                  /


                                 ORDER APPROVING
                            REPORT AND RECOMMENDATION

       The Court has reviewed the Report and Recommendation filed by the United States

Magistrate Judge in this action on July 5, 2018, recommending that the Court dismiss this matter

for want of prosecution. (ECF No. 17) The Report and Recommendation was duly served on

Plaintiff on July 6, 2018. No objection has been filed pursuant to 28 U.S.C. § 636(b).

       THEREFORE, IT IS ORDERED that the Report and Recommendation of the Magistrate

Judge, filed July 5, 2018, is approved and adopted as the opinion of the Court.

       IT IS FURTHER ORDERED that this case is DISMISSED WITHOUT PREJUDICE

pursuant to Fed. R. Civ. P. 41(b) and W.D. Mich. LCivR 41.1 for want of prosecution.



Dated: July 24, 2018                                       /s/ Gordon J. Quist
                                                          GORDON J. QUIST
                                                     UNITED STATES DISTRICT JUDGE
